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  1
      Michael J. Bowe                             David M. Stein (#198256)
  2   (admitted pro hac vice)                     dstein@brownrudnick.com
      mbowe@brownrudnick.com                      BROWN RUDNICK LLP
  3   Lauren Tabaksblat                           2211 Michelson Drive, 7th Floor
      (admitted pro hac vice)                     Irvine, California 92612
  4   ltabaksblat@brownrudnick.com                Phone:       949.752.7100
      BROWN RUDNICK LLP                           Fax: 949.252.1514
  5   7 Times Square
      New York, NY 10036
  6   Telephone: (212) 209-4800
      Facsimile: (212) 209-4801
  7
      Attorneys for Plaintiff
  8
                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11 SERENA FLEITES,                               CASE NO. 2:21-CV-04920-CJC-ADS

 12          Plaintiff,

 13         v.
                                                  DISCOVERY DOCUMENT:
 14 MINDGEEK S.A.R.L.; MG                         REFERRED TO MAGISTRATE
                                                  JUDGE AUTUMN D. SPAETH
    FREESITES, LTD; MINDGEEK USA
 15 INCORPORATED; MG PREMIUM                      DECLARATION OF JOHN G.
 16 LTD.; MG GLOBAL                               DOYLE IN SUPPORT OF
                                                  PLAINTIFF’S MOTION TO
    ENTERTAINMENT INC.; 9219-1568                 COMPEL DEFENDANT DAVID
 17 QUEBEC, INC.; BERND BERGMAIR;                 TASSILLO’S RESPONSES TO
 18 FERAS ANTOON; DAVID                           PLAINTIFF’S FIRST REQUEST
                                                  FOR PRODUCTION OF
    TASSILLO; COREY URMAN; VISA                   DOCUMENTS AND
 19 INC.; COLBECK CAPITAL DOES 1-                 INTERROGATORIES
 20 5; BERGMAIR DOES 1-5                          Date: March 8, 2023
 21                                               Time: 10:00 a.m.
                   Defendants.                    Courtroom: 6B
 22                                               Jurisdictional Discovery Cutoff:
                                                  May 1, 2023
 23
 24
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 28
                                                              CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANT DAVID TASSILLO’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR
      PRODUCTION OF DOCUMENTS AND INTERROGATORIES
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  1                       DECLARATION OF JOHN G. DOYLE
  2         I, John G. Doyle, declare as follows:
  3         1.    I am an associate with the law firm Brown Rudnick LLP, counsel for
  4 Plaintiff Serena Fleites in this case. I submit this declaration in support of Plaintiff’s
  5 Motion to Compel Defendant David Tassillo’s Responses to Plaintiff’s First Request
  6 for Production of Documents and Interrogatories (“Plaintiff’s Motion to Compel”). I
  7 have personal knowledge of the matters in this declaration.
  8         2.    Plaintiff served Defendant Tassillo with her First Set of Interrogatories
  9 on August 17, 2022. A true and accurate copy of Plaintiff’s Interrogatories is attached
 10 as Exhibit 1.
 11         3.    Plaintiff served Defendant Tassillo with her First Set of Requests for
 12 Production on September 20, 2022. A true and accurate copy of Plaintiff’s RFPs is
 13 attached as Exhibit 2.
 14         4.    On September 22, 2022, Defendant Tassillo provided a redacted version
 15 of his responses and objections to Plaintiff’s Interrogatories, a true and accurate copy
 16 of which is attached as Exhibit 3.
 17         5.    On October 17, 2022, Defendant Tassillo provided an unredacted version
 18 of his responses and objections to Plaintiff’s Interrogatories. Defendant Tassillo
 19 designated the unredacted responses as “Confidential” pursuant to the Stipulated
 20 Protective Order entered by this Court. A true and accurate copy of Defendant
 21 Tassillo’s unredacted Interrogatory Responses is attached as Exhibit 4 and is filed
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                                            1                 CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
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  1 under seal. A motion to file Exhibit 4 under seal is being filed contemporaneously
  2 in accordance with Local Rule 79-5.2.2.
  3         6.    On October 20, 2022, Plaintiff received Defendant Tassillo’s Objections
  4 and Responses to Plaintiff’s First Request for Production of Documents, a true and
  5 accurate copy of which is attached as Exhibit 5.
  6         7.    On December 5, 2022, Plaintiff sent Defendant Tassillo a detailed letter
  7 in accordance with Local Rule 37-1, outlining her objections to Defendant Tassillo’s
  8 responses and objections and reserving on others. A true and accurate copy of that
  9 letter is attached as Exhibit 6. Accompanying that letter was Plaintiff’s request for
 10 the parties to meet and confer on December 7, 2022, to discuss the disputed discovery
 11 responses.
 12         8.    On December 6, 2022, Counsel for Defendant Tassillo responded to the
 13 request for a meet and confer saying they were not available to meet on the requested
 14 date and would propose a time to meet the following week, declining Plaintiff’s
 15 supplemental request to meet on Thursday, December 8, 2022. In addition, Counsel
 16 for Defendant Tassillo said he and Defendant Antoon’s counsel intended to conduct
 17 a joint meet and confer with Plaintiff regarding the subject discovery responses.
 18         9.    On December 9, 2022, Plaintiff contacted counsel for Defendants
 19 Tassillo and Antoon, again asking about their availability to meet and confer,
 20 proposing a meeting on Monday, December 12, 2022. That same day, Defendant
 21 Tassillo’s counsel, on behalf of Defendant Tassillo and all of the Individual
 22 Defendants and their counsel, e-mailed Plaintiff proposing a joint meet and confer on
 23 Thursday, December 15, 2022. Plaintiff agreed to the proposed date if that was the
 24 earliest defense counsel were willing to meet but apprised counsel of her willingness
 25 and availability to meet at an earlier date and time.
 26         10.   The parties met and conferred on December 15, 2022. They were not
 27 able to resolve their differences concerning the disputed discovery requests. During
 28
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  1 the meet and confer, defendants’ counsel said they had not conducted a search for
  2 material responsive to Plaintiff’s discovery requests purportedly because of the
  3 breadth and scope of the requests, and that, instead, the Individual Defendants
  4 intended to await the Court’s decision on Plaintiff’s pending motion to compel the
  5 MindGeek Entities’ discovery responses before responding any further to Plaintiff’s
  6 requests. During this meet and confer, defense counsel declined to discuss their
  7 substantive and legal positions concerning the requests asserting, in part, that they did
  8 not want to take a position that would run counter to the MindGeek Entity responses
  9 or to the Court’s future ruling concerning the pending motion to compel.
 10         11.    On December 23, 2022, Plaintiff notified Defendant Tassillo of her
 11 intent to file a motion to compel his responses to her requests for production and
 12 interrogatories, and, in accordance with Local Rule 37-2.2, delivered to Defendant’s
 13 counsel Plaintiff’s portion of the joint stipulation to be filed in support of her Motion
 14 to Compel.
 15         12.    To date, neither Defendant Tassillo, nor any of the other Individual
 16 Defendants have produced a single document in response to Plaintiff’s discovery
 17 requests. To date, the MindGeek Entity defendants have not produced a single
 18 communication from any of the Individual Defendants.
 19         I swear under the penalty of perjury under the laws of the United States of
 20 America that the foregoing is true and correct.
 21         Executed this 23rd day of December 2022 in Washington, D.C.
 22
                                                    By: /s/ John G. Doyle
 23                                                     John G. Doyle
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                                            3                 CASE NO. 21-CV-04920-CJC-ADS
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      DEFENDANT DAVID TASSILLO’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR
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